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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

  WAJDAN MOHAMMAD AND FERYAL                               CASE NO.: 1:18-cv-23332-JEM
  MOHAMMAD,

         Plaintiffs,
  vs.

  CITIBANK, N.A.,

         Defendant.
                                                /

                       STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs,

  FERYAL MOHAMMAD and WAJDAN MOHAMMAD, hereby dismiss the above-entitled

  action and all claims asserted in the action against Defendant, CITIBANK, N.A., with prejudice.

  The parties agree to bear their own fees and costs.



                                                        Respectfully Submitted,

                                                        /s/ Christopher W. Boss
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                                                        Florida Bar No.: 13183
                                                        BOSS LAW
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                                                        Attorney for Plaintiffs
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 8th day of November, 2018, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties either via transmission
  of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices of Electronic Filing,
  including the following party:

         Citibank, N.A.
         388 Greenwich St.
         New York, NY 10013

                                                /s/ Christopher W. Boss
                                                Christopher W. Boss, Esq.
                                                FL Bar No.: 13183
